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BONTRAL DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

February 2018 Grand Jury

UNITED STATES OF AMERICA,
Plaintiff,
a

MESBEL MOHAMOUD and
ERLINDA ABELLA,

Defendants.

INDICTMENT

[18 U.S.C. § 1347: Health Care
Fraud; 18 U.S.C. § 1028A(a) (1):
Aggravated Identity Theft; 18
U.S.C. § 2(b): Causing an Act to
be Done]

 

 

 

The Grand Jury charges:

COUNTS ONE THROUGH TWENTY-ONE

[18 U.S.c.

A. INTRODUCTORY ALLEGATIONS

§§ 1347, 2(b)]

At all times relevant to this Indictment:

TNYC and the Defendants

1. The New You Center (“TNYC”) was a private provider of

alcohol and drug abuse treatment services, with its business office

located in Los Angeles, California.

TNYC was certified to provide

alcohol and drug treatment services at its place of business under

the Drug Medi-Cal program, described below.

 
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2. Defendant MESBEIL MOHAMOUD (“defendant MOHAMOUD”) was the
| Executive Director and owner of TNYC.

Bs Defendant ERLINDA ABELLA (“defendant ABELLA”), who was
defendant MOHAMOUD’s mother-in-law, was the Program Director of TNYC,
which she had started with defendant MOHAMOUD in 2005.

The Drug Medi-Cal Program

4. The Medi-Cal program (“Medi-Cal”) was a health care benefit
program, affecting commerce, that provided reimbursement for
medically necessary health care services to indigent persons in
California. Funding for Medi-Cal was provided by the federal
government and the State of California. Medi-Cal was administered by
the California Department of Health Care Services (“DHCS”).

5, The Drug Medi-Cal program (“Drug Medi-Cal”) was a program
within Medi-Cal that paid for medically necessary alcohol and drug
ll treatment to California’s Medi-Cal eligible population. Prior to
approximately 2013, DHCS administered Drug Medi-Cal by providing
funds to the California Department of Alcohol and Drug Programs
(“ADP”), which in turn utilized eauney alcohol and drug programs
| (“County ADPs”), including the Los Angeles County Department of
Public Health, Substance Abuse Prevention and Control, to provide
eligible drug treatment services. In or about 2013, the ADP became
part of DHCS, and since that time, DHCS has directly managed the
County ADPs. The County ADPs entered into contracts with private
| service providers such as TNYC to provide treatment, recovery, and
prevention services for eligible patients.

6. Drug Medi-Cal covered outpatient substance abuse treatment
services only when such services were medically necessary, prescribed
by a physician, and provided in accordance with utilization controls

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jj}and regulatory requirements set forth in Title 22 of the California
Code of Regulations (“CCR”). Among other things, the CCR required
that the provider: (a) develop and use criteria and procedures for
the admission of beneficiaries to treatment; (b) complete a personal,
medical, and substance abuse history for each beneficiary upon
admission to treatment; and (c) complete an assessment of the

| physical condition of the beneficiary within thirty (30) calendar
days of the admission to treatment.

} Ts Drug Medi-Cal providers were also required to have a
treatment plan for each beneficiary that was: (a) completed and
Signed by the primary counselor assigned to the beneficiary within 30
|| days of the beneficiary’s admission to treatment; (b) reviewed,
approved, and signed by a physician within 15 days of the counselor’s
Signature; and (c) updated on a regular basis.

| 8. In signing an initial treatment Pia the physician
confirmed that the beneficiary had an alcohol or drug abuse or

/sebenesses diagnosis.

|
9. To qualify for Drug Medi-Cal reimbursement, outpatient

group counseling had to be conducted in groups with, prior to
| SEER oRAmatety July 2014, no fewer than four and no more than ten

clients (only one of whom had to be a Medi-Cal beneficiary), and

 

 

beginning in or about July 2014, no fewer than two and no more than
twelve clients. “Group counseling” meant face-to-face contacts in

||
which one or more therapists or counselors treated two or more

clients at the same time, focusing on the needs of the individuals

Il served.

 

 

 
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10. To constitute one unit of outpatient drug-free (“ODF”)

group counseling, the counseling session had to last at least 90

 

minutes.

11. “Individual counseling” meant face-to-face counseling with
a therapist or counselor and included intake, crisis intervention,
collateral services (face-to-face counseling sessions with a
significant person in the beneficiary’s life), and treatment and
discharge planning.

12. To constitute one unit of ODF individual counseling, the
counseling session had to last at least 50 minutes.
| 13. The “day care habilitative services” program (“DCH”) and
“day care rehabilitative services” program (“DCR”) involved
outpatient group and individual counseling and rehabilitation
services provided at least three hours per day, three days per week,
| ex clients with a substance abuse diagnosis, who, in general, were
pregnant, had recently given birth, or were eligible for the Medi-Cal
| Early and Periodic Screening, Diagnosis and Treatment program.
| 14. To receive payment for substance abuse treatment services
provided, Drug Medi-Cal providers submitted to the appropriate County
ADP claims that reported, among other things, the dates, units, and
| exe" of services (e.g., ODF group, ODF individual, or DCH/DCR
counseling) provided to each Medi-Cal beneficiary. TNYC submitted to
the County ADP its claims for payments from Drug Medi-Cal at the

beginning of the month following the month in which the claimed

 

services were purportedly provided.

15. To support its claims for payment, each Drug Medi-Cal
| beenataee was required to establish and maintain for at least three
years an individual client record for each beneficiary containing the

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following documentation: evidence that the beneficiary met the
admission criteria for Drug Medi-Cal services; treatment plans;
progress notes; evidence that the beneficiary received counseling;
justification for continuing services; the discharge summary;
evidence of compliance with requirements for the specific treatment
service; and records substantiating the services for which claims for
payment were submitted.

Defendants’ Responsibilities at TNYC

16. Defendant MOHAMOUD handled the billing for TNYC and was
responsible for ensuring that TNYC submitted to the County ADP true
and accurate claims for reimbursement from Drug Medi-Cal.

17. Defendant ABELLA was responsible for ensuring that TNYC
counselors conducted the TNYC substance abuse treatment program in
accordance with Medi-Cal and Drug Medi-Cal requirements and for
providing true and accurate billing data to defendant MOHAMOUD.
Therefore, defendant ABELLA was responsible for ensuring that TNYC
counselors: (a) enrolled in the TNYC substance abuse counseling
program only those clients that had an alcohol or substance abuse
disorder or addiction; (b) conducted the ODF group, ODF individual,
and DCH counseling sessions for the appropriate amounts of time, with
the appropriate number of clients, with the appropriate subject
matter, and in the appropriate confidential setting; and (c) prepared
true and accurate paperwork to support the provision of counseling
services.

E.. THE SCHEME TO DEFRAUD

18. Beginning in or about January 2009, and continuing through
in or about pevenber 2015, in Los Angeles County, within the Central
District of California, and elsewhere, defendants MOHAMOUD and

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| APEDLA, together with others known and unknown to the Grand Jury,
knowingly, willfully, and with intent to defraud, executed and
attempted to execute a scheme: (a) to defraud a health care benefit
program, namely Medi-Cal, as to material matters in connection with
| the delivery of and payment for health care benefits, items, and
services; and (b) to obtain money owned by and under the custody and
control of Medi-Cal by means of material false and fraudulent
pretenses and representations and the concealment of material facts
Han connection with the delivery of and payment for health care
benefits, items, and servicer.

Cc. THE MANNER AND MEANS OF THE SCHEME

| 19. The fraudulent scheme operated, in substance, in the manner
and by the means set forth in paragraph 20 below.

20. Knowing that these practices contravened Drug Medi-Cal

requirements and would result in TNYC submitting to the County ADP

 

false claims for Drug Medi-Cal reimbursement and the creation and

 

maintenance of false paperwork to support these false claims:
a. TNYC counselors, acting at defendant ABELLA’s

direction:
| qs enrolled clients in the TNYC substance abuse
treatment program even if the clients had used drugs or alcohol only
occasionally or even just once;

ii. purportedly conducted DCH group counseling
sessions at unauthorized sites rather than at TNYC;

iii. collected client signatures on sign-in sheets for
group and individual counseling sessions that the clients did not in

fact attend or that were not in fact conducted;

 

 
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iv. forged clients’ signatures on sign-in sheets and
other documents related to TNYC’s substance abuse treatment program;

v. prepared progress notes that falsely showed that
the clients in the counselors’ caseloads had attended group
counseling sessions up to four days each week, even though the
clients had not attended counseling sessions that many days, the
sessions they did attend were not as long as claimed (90 minutes for
ODF or three hours for DCH), the sessions included more than ten or
twelve clients, and the sessions otherwise did not meet the
requirements for Drug Medi-Cal reimbursement; and

vi. maintained false progress notes in the clients’
files as documentation purportedly supporting TNYC’s fraudulent
billing.

b. Defendant ABELLA instructed counselors to engage in

the practices described in subparagraph (a) above and at times

engaged in these practices herself.

c. Defendants ABELLA and MOHAMOUD created and caused to
be created falsified billing data for clients who were hospitalized
at the time they purportedly received services from TNYC;

di: Defendant ABELLA reported to the state court and the
Department of Children and Family Services that certain clients had
completed the requisite number of hours of substance abuse counseling
when, in fact, they had not.

e. Defendant ABELLA caused the preparation of fraudulent
treatment plans for clients that falsely indicated that the clients
needed substance abuse treatment, even though the clients’ records
indicated that the clients had only once or occasionally used alcohol
or drugs or had not used alcohol or drugs recently.

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£. Defendants MOHAMOUD and ABELLA created and caused to
be created falsified billing data that they used to generate and
submit to the County ADP false and fraudulent claims from TNYC for
substance abuse treatment services that, as defendants MOHAMOUD and
ABELLA well knew, were based on falsified enrollment criteria, were
supported by false documentation, and did not qualify for Drug Medi-
Cal reimbursement.

21. As a direct and intended result of the fraudulent scheme,
defendants MOHAMOUD and ABELLA caused TNYC to submit to the County
ADP false and fraudulent Drug Medi-Cal claims totaling approximately
$2,083,778 for counseling services, and Drug Medi-Cal paid
approximately $1,851,439 on those claims.

D. EXECUTION OF THE SCHEME TO DEFRAUD

22. On or about the dates set forth below, in Los Angeles
County, within the Central District of California, and elsewhere,
defendants MOHAMOUD and ABELLA, together with others known and
unknown to the Grand Jury, executed and attempted to execute the
fraudulent scheme described above, by knowingly and willfully
submitting and causing to be submitted to the County ADP the
following claims for Drug Medi-Cal payments, which claims were false
and fraudulent in that: (a) the clients identified in the claims as
having received the counseling for which the claims sought payment
(i) did not have a medical need for the counseling and (ii) did not
in fact receive the counseling, either because the purported
counseling session was not in fact conducted or the client
represented as being present was not in fact there; and (b) in the

case of clients from Dimondale Adolescent Care Facility group homes,

 
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TNYC was not authorized to provide counseling at the location

 

 

 

 

 

 

 

 

 

 

 

 

 

 

specified:
COUNT DATE CLIENT/ CLAIM NUMBER, TYPE AND
SUBMITTED BENEFICIARY DATE OF SERVICE, AND
AMOUNT BILLED
ONE In or A.R. AXXXXXXXX:
about Group counseling session
April 2013 purportedly conducted on
March 23, 2013
Billed: $61.33
TWO In or S.A. AXXXXXXXX:
about May DCH counseling session
2013 purportedly conducted on
April 23, 2013
Billed: $65.38
THREE In or KD: AXXXXXXXX:
about DCH counseling session
August purportedly conducted on
2013 July 2, 2013
Billed: $62.15
FOUR In or M.J. AXXXXXXXX:
about DCH counseling session
September purportedly conducted on
2013 August 17, 2013
| Billed: $62.15
FIVE In or C.Bs AXXXXXXXX:
about Group counseling session
November purportedly conducted on
2013 October 7, 2013
Billed: $62.24
SIX In or A.C. AXXXXXXXX:
about DCH counseling session
December purportedly conducted on
2013 November 13, 2013
Billed: $62.15
SEVEN In or H.W. AXXXXXXXX:
about DCH counseling session
December purportedly conducted on
2013 November 19, 2013
Billed: $62.15
EIGHT In or G.M. AXXXXXXXX:;
about DCH counseling session
December purportedly conducted on
2013 November 20, 2013
Billed: $62.15

 

 

 

 
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COUNT DATE CLIENT/ CLAIM NUMBER, TYPE AND
SUBMITTED BENEFICIARY DATE OF SERVICE, AND
AMOUNT BILLED
NINE In or Am.d. AXXXXXXXX:
about DCH counseling session
December purportedly conducted on
2013 November 20, 2013
Billed: $62.15
TEN In or N.H. AXXXXXXXX:
about DCH counseling session
February purportedly conducted on
| 2014 January 15, 2014
Billed: $62.15
ELEVEN In or I.E. AXXXXXXXX:
about DCH counseling session
April 2014 purportedly conducted on
March 11, 2014
|
Billed: $62.15
TWELVE In or An.D. AXXXXXXXX:
about DCH counseling session
April 2014 purportedly conducted on
March 12, 2014
Billed: $62.15
THIRTEEN In or As.D. AXXXXXXXX:
about DCH counseling session
April 2014 purportedly conducted on
| March 19, 2014
Billed: $62.15
FOURTEEN In or [.W. AXXXXXXXX:
about DCH counseling session
| April 2014 purportedly conducted on
March 19, 2014
Billed: $62.15
FIFTEEN In or J.Ma. AXXXXXXXX:
about June DCH counseling session
| 2014 purportedly conducted on
May 9, 2014
Billed: $62.15
| SIXTEEN In or . J.Me. AXXXXXXXX:
about June DCH counseling session
2014 purportedly conducted on
May 10, 2014
Billed: $62.15
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COUNT DATE CLIENT/ CLAIM NUMBER, TYPE AND
SUBMITTED BENEFICIARY DATE OF SERVICE, AND
AMOUNT BILLED
SEVENTEEN | In or N.A. AXXXXXXXX:
i about June DCH counseling session
2014 purportedly conducted on
May 20, 2014
Billed: $62.15
EIGHTEEN In or A.B AXXXXXXXX:
about June DCH counseling session
2014 purportedly conducted on
May 22, 2014
Billed: $62.15
NINETEEN In or C.G. AXXXXXXXX:
about June DCH counseling session
2014 purportedly conducted on
May 28, 2014
Billed: $62.15
TWENTY In or Bul; AXXXXXXXX:
about June DCH counseling session
2014 purportedly conducted on
May 29, 2014
Billed: $62.15
TWENTY - In or An.J. AXXXXXXXX:
ONE about July DCH counseling session
2014 purportedly conducted on
June 14, 2014
Billed: $62.15

 

 

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COUNT TWENTY-TWO
[18 U.S.C. §§ 1028A(a) (1), 2(b)]

23. The Grand Jury hereby re-alleges and incorporates by
reference paragraphs 1 through 17 and 19 through 22 of this
Indictment as though set forth in their entirety herein.

24. From on or about August 17, 2013, to in or about September
7°29: in Los Angeles County, within the Central District of
California, defendants MOHAMOUD and ABELLA, together with others
known and unknown to the Grand Jury, knowingly transferred,
possessed, and used, and willfully caused to be transferred,
| possessed, and used, without lawful authority, means of
identification that defendants MOHAMOUD and ABELLA knew belonged to
another person, that is, the name and Medi-Cal number of M.J., during
|and in relation to the offense of Health Care Fraud, a felony
violation of Title 18, United States Code, Section 1347, as charged

in Count Four of this Indictment.

 

 

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COUNT TWENTY-THREE
[18 U.S.C. §§ 1028A(a) (1), 2(b)]

25. The Grand Jury hereby re-alleges and incorporates by
reference paragraphs 1 through 17 and 19 through 22 of this
Indictment as though set forth in their entirety herein.

26. From on or about October 7, 2013, to in or about November
2013, in Los Angeles County, within the Central District of
California, defendants MOHAMOUD and ABELLA, together with others
known and unknown to the Grand Jury, knowingly transferred,
possessed, and used, and willfully caused to be transferred,
possessed, and used, without lawful authority, means of
identification that defendants MOHAMOUD and ABELLA knew belonged to

another person, that is, the name and Medi-Cal number of C.B., during

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and in relation to the offense of Health Care Fraud, a felony

violation of Title 18, United States Code, Section 1347, as charged

in Count Five of this Indictment.

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| A TRUE BILL

| LOL.

Foreperson

NICOLA T. HANNA
| United States Attorney

| ~~

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

| RANEE A. KATZENSEIN
Assistant United States Attorney
Chief, Major Frauds Section

 

STEPHEN A. CAZARES

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Section

CATHY J. OSTILLER

Assistant United States Attorney
Major Frauds Section

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